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                     IN THE UNITED STATES DISTRICT COURT
                    FOR THE SOUTHERN DISTRICT OF ILLINOIS


   MARK HALE, TODD SHADLE,
   and LAURIE LOGER, on behalf of
   themselves and all others similarly situated,

   Plaintiffs,

   v.

   STATE FARM MUTUAL AUTOMOBILE
   INSURANCE COMPANY, EDWARD
   MURNANE, and WILLIAM G. SHEPHERD,

   Defendants.                                               No. 12-0660-DRH



                                         ORDER

   HERNDON, District Judge:

         This order is entered for case management purposes.

         As a follow-up to the Court’s order, August 23, 2018 (doc. 915), the Court

   directs the parties as follows. A revised trial calendar has been developed by the

   Court and will be provided to the parties as a separate document in cm/ecf. On

   Wednesday, August 29, 2018, the Court will have the venire panel brought to the

   courtroom at 9:00 AM. At that time, the Court will advise them of their schedule

   for the next six days. The Court will also advise the panel of the nature of the

   case, consistent with the one adopted by the parties for the purpose of the Final

   Pretrial Order. The Court will introduce the jury to the chief trial lawyer for each

   defendant, who will then introduce the rest of the counsel for that party.




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         The Court directs that if a lawyer will take any role in the trial; chief,

   second, examiner of witnesses, role playing for a witness in a written deposition to

   be presented to the jury, opening statement or closing argument that lawyer shall

   be present for the 9:00 AM introductions to the jury. While the Court, of course,

   will make room for all counsel necessary, the Court discourages any counsel from

   being in the courtroom for this part of voir dire as seating space will be at a

   premium.


         The jury will be directed to return to the jury assembly room to complete

   the task of orientation, including the completion of the parties’ questionnaire, as

   well as the Court’s, with the admonishment to return in time for a 1:00 PM start

   for the balance of voir dire.


         After the jury has been returned to the jury room, the Court will have a

   discussion in chambers with the lead counsel for each party, lead counsel defined

   as the lawyers who have authority within the groups of lawyers to direct the

   prosecution or defense of the case and make decisions about trial strategy and

   settlement issues including those who will be chief trial counsel. That discussion

   will be limited to those principals.


         Following that discussion, depending on time, the Court will begin to take

   up, in open court, the issues pending for ruling, beginning with any issues that

   impact voir dire. The trial schedule, the days of which are reflected in the revised

   trial calendar, will be that the Court will begin at 8:30 AM each day and end at



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   4:30 PM with the alternative of 5:00 PM should it be necessary. The Court will

   break around noon for a one hour lunch period.          That schedule is subject to

   change if the Court discovers that we are behind schedule for minutes counted for

   each day (a minimum of an aggregate of 360 minutes per day for all parties). For

   example the lunch may be shortened (which would provoke the Court to have the

   district provide a lunch for the jurors in order to require them to stay in).


         With regard to timing each side’s timed participation, for opening

   statements, the Court will grant fifteen (15) minutes for plaintiffs and defendants

   each, and if they exceed that limit, the time spent in excess of that will be counted

   against the party. A direct examiner of a witness will be timed from beginning to

   end of such direct examination and counted against his or her side.             Cross

   examination will be counted the same as against the side cross examining a

   witness.   To the extent that the Court determines a witness has established a

   pattern of being non-responsive to a question from counsel representing the other

   side (resulting in the need to extend unnecessarily the time spent by that lawyer

   and consequently diminishing the time of that party), the Court will keep track of

   that time and deduct it from the side that called the witness. Obviously, it would

   be in each parties’ interest to caution their own witnesses to respond directly to

   the question asked in the most efficient method possible. With respect to closing

   arguments the time restrictions including in the previous order will be enforced.

   As a consequence, once that side reaches the limit no further time will be allowed

   and the closing will conclude at the direction of the Court. As for the time spent


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   by plaintiff in the initial argument as opposed to the rebuttal, plaintiffs shall

   advise the Court how they want that time split. As for defendants, each of the

   three defendants will decide the manner of splitting time and advise the Court.


         Any questions about the above procedures should be addressed to the

   Court in a timely fashion (before it is too late).


         IT IS SO ORDERED.
                                                                 Judge Herndon
                                                                 2018.08.27
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                                                        United States District Judge




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